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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

  Case No. 1:16-cv-00152 – PAB-STV

  JOHN DOE,

          Plaintiff,
  v.

 UNIVERSITY OF DENVER;
 UNIVERSITY OF DENVER BOARD OF
 TRUSTEES; REBECCA CHOPP,
 individually and as agent for
 UNIVERSITY OF DENVER; KRISTIN
 OLSON, individually and as agent for
 UNIVERSITY OF DENVER; JEAN
 MCALLISTER, individually and as agent
 for UNIVERSITY OF DENVER;
 KATHRYNE GROVE, individually and as
 agent for UNIVERSITY OF DENVER;
 and ERIC BUTLER, individually and as
 agent for UNIVERSITY OF DENVER,

          Defendants.


                        UNOPPOSED MOTION TO CONTINUE TRIAL DATE


         Plaintiff John Doe, (“Plaintiff”) by his attorneys, Nesenoff & Miltenberg, LLP and Michael

 Mirabella P.C., hereby moves the Court for an Order continuing the Trial Date of April 16, 2018,

 which was set by the Court without being cleared with counsels’ calendars (Doc. 113). As grounds

 therefore, Plaintiff states:



          In accordance with D.C.Colo.LCivR 7.1(a)(c), counsel for Plaintiff contacted counsel for

  Defendants regarding the relief requested herein, and Defendants’ counsel is not opposed to the

  court granting the relief requested.
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           1.    This case was filed in January 2016. Discovery Concluded in April, 2017. Defendants

  filed their Motion for Summary Judgment on May 5, 2017 (Doc. 68). Plaintiff’s Response to the

  Summary Judgment Motion was filed on June 16, 2017 (Doc 85). Defendants’ Reply in Support of

  Summary Judgment was filed on July 10, 2017.

           2.    The Court set this matter for Trial to be held on October 30, 2017 (Doc 98). Upon

  motion, the Court reset trial for April 9, 2018 (Doc 102). On November 30, 2017, due to a conflict

  in the Court’s schedule, without consulting counsel, the Court reset the trial to April 16, 2018 (Doc

  113).

           3.    On January 29, 2018, Defendants filed their Motion to Exclude Expert Testimony

  (Doc 117). Assuming briefing is concluded as contemplated by the rules, this motion will not be

  ripe for decision until March 5, 2018, only 45 days prior to trial.

          4.     Further, counsel for both parties and several of the individual Defendants and

 witnesses for Defendants are engaged in discovery in a similar case Doe v University of Denver, 17-

 cv-01962-PAB-KMT. The current discovery schedule in the newer case creates a severe conflict in

 preparing for the trial of this case.

          5.     Finally, counsel for Plaintiff is involved in a trial in Westchester County New York

 which has recently been rescheduled to April 17, 2018. The Westchester County case has been reset

 on several occasions and the trial court will not consider a continuance. The details of this case are:

 William Stempel and Katherine Stempel v. JTH Construction, Inc. et al., Supreme Court Westchester

 County; 70884/2014

          6.     Currently, the parties are faced with preparation for a trial which is approximately 55

 days away without knowing what issues may be at issue or foreclosed by the pending rulings on the

 outstanding motions. This makes efficient and cost-effective trial preparation difficult.

           7.    Pursuant to the published Practice Standards of this Court, undersigned counsel
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  submits the following review of the factors in United States v. West, 828 F.2d 1468 (10th Cir. 1987).

  The factors in West are: 1) diligence of counsel, 2) usefulness of the continuance, 3) inconvenience

  to parties or the jury, 4) need and prejudice. Id, at 1469-1470.

          8.    The court in West stated that the most important factor in the analysis is the requesting

  party’s need and prejudice. Id at 1470.         In this case, the need and prejudice are palpable.

  Undersigned counsel are faced with having to prepare for trial without a clear understanding of the

  issues which will actually be tried. Having to prepare for all possible outcomes including an “all

  issues trial” on the one hand or a decision granting summary judgment shortly before trial

  commences, is a waste of the resources of counsel and their clients. Finally, the unexpected

  unavailability of lead counsel due to the conflicting trial date in Westchester County, New York,

  crates severe prejudice to the Plaintiff.

          9.    Undersigned counsel has been diligent in seeking this continuance as there was no

  earlier opportunity to set forth the scheduling difficulties the current trial date present. There was

  no consultation by Judge Brimmer’s staff to clear the trial dates with counsel. Counsel diligently

  proceeded with the expectation that a ruling on the Summary Judgment Motion would be

  forthcoming shortly. The filing of the Motion for Exclusion of Expert Witness Testimony has

  placed the current trial date too close to the earliest ruling on that motion for counsel to properly

  prepare for trial. Plaintiff’s counsel has also sought relief from the court in Westchester County and

  has been denied relief from that court.

          10.   The requested continuance will be useful as counsel will be better able to prepare a

  trial which is tailored to the rulings of the Court as to the issues to be actually tried, facilitating the

  efficient and orderly presentation of Plaintiff’s case.

          11.   No prejudice will be incurred by any party by granting this request, no jury has been

  impaneled, therefore the requested continuance will not result in inconvenience to any party or the
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  jury.

          12.   Plaintiff’s counsel hereby certifies that the plaintiff has received a copy of this motion

  as required by D.C.COLO.LCivR 6.1(c).

          WHEREFORE, the parties respectfully request that the current trial date be vacated and

  reset for trial to commence approximately 60 days after the court rules on the current outstanding

  motions.



          Dated this 27th day of February, 2018.

                                                       Respectfully submitted,


                                                       /s/ Tara J. Davis, Esq.
                                                       [ e-filing –February 27, 2018]

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                                                       /s/ Michael J. Mirabella
                                                       [ e-filing – February27, 2018]

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                                 CERTIFICATE OF SERVICE



 I hereby certify that a true and correct copy of the foregoing UNOPPOSED MOTION TO
 CONTINUE TRIAL DATE has been electronically filed this 27th day of February, 2018, and served
 upon the following:


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 Cousnel for Defendants
